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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
v.                                         )   No. 6:21-cv-00016
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

                                                 REPLY
        Defendants provide this reply to address the States’ incomplete and misleading picture

about ICE’s detention operations. See Pls.’ Resp. at 9 (ECF No. 231). As explained in Defendants’

proposed findings of fact, ICE book-ins were greater in each month from October 2021 through

February 2022, as compared to October 2019 through February 2020. Defs.’ Post-Tr. Proposed

Findings of Fact and Conclusions of Law ¶ 60 (ECF No. 222). A greater share of book-ins,

however, resulted from CBP arrests, rather than interior enforcement, as a result of increased

enforcement at the border. Id. (citing Declaration of Peter Berg ¶ 18, AR_DHSP_00006029).

Further, in their post-trial response brief, the States cite a news article for the proposition that there

was a large drop in removals in Fiscal Year 2021, which predated the effective date of the

September Guidance. See Pls.’ Resp. at 9-10. But that news article fails to account for the fact that

between January 2021 and July 2021, DHS expelled more than 600,000 noncitizens covered by

the CDC’s public health Order, which was not issued until the middle of Fiscal Year 2020. See

CBP, Nationwide Enforcement Encounters: Title 8 Enforcement Actions and Title 42 Expulsions

FY2021 (last visited Apr. 6, 2022), https://www.cbp.gov/newsroom/stats/cbp-enforcement-

statistics/title-8-and-title-42-statistics-fy2021.

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Dated: April 8, 2022                Respectfully submitted,

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                               CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on April 8, 2022.

                                                   /s/ Michael F. Knapp
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